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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :    Case No. 1:22-CR-99-RJL
                                               :
                                               :
v.                                             :
                                               :
JAKE MAXWELL,                                  :
                                               :
        Defendant.                             :


                                        JOINT STATUS REPORT

        COMES NOW, Jake Maxwell (“Mr. Maxwell”), by and through counsel, Michael T. van

der Veen, jointly with the Government, and hereby submits the instant Joint Status Report as

requested via the Minute Order of this Court entered on February 9, 2024. The parties have

conferred regarding availability for re-scheduling Mr. Maxwell’s Sentencing Hearing in the

months of March and April. The parties agree that the mutually available dates include March 21st,

April 5th, April 8th, and April 29th.



                                                                         Respectfully Submitted,


Date: February 29, 2024                                              /s/ Michael T. van der Veen
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